                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          DURHAM DIVISION

 PLANNED PARENTHOOD SOUTH
 ATLANTIC; BEVERLY GRAY, M.D., on
 behalf of themselves and their patients seeking
 abortions,

                             Plaintiffs,              No. 1:23-CV-480
 v.

 JOSHUA H. STEIN, Attorney General of
 North Carolina, in his official
 capacity; et al.

                             Defendants.


         DEFENDANT ATTORNEY GENERAL JOSHUA H. STEIN’S
                 MEMORANDUM OF LAW REGARDING
      PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER

       This brief conveys the position of Attorney General Joshua H. Stein. Michaux R.

Kilpatrick, the President of the North Carolina Medical Board, and Racquel Ingram,

Chair of the North Carolina Board of Nursing, take no position on Plaintiffs’ pending

motion. Kody H. Kinsley, Secretary of the North Carolina Department of Health and

Human Services, agrees with Plaintiffs and the Attorney General that S.B. 20, as passed,

includes contradictions, uncertainties, and ambiguities that impact the ability for women

to lawfully obtain an abortion and for providers to comply with the many administrative

and reporting aspects of the law. However, Secretary Kinsley does not take a position on

the pending motion. The district attorney defendants are still in the process of finalizing

representation.




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                                   INTRODUCTION

       For half a century, Roe v. Wade protected the right of women across America to

make their own reproductive healthcare decisions. 410 U.S. 113 (1973). Last year, the

U.S. Supreme Court reversed course. Dobbs v. Jackson Women’s Health Org., 142 S. Ct.

2228, 2242 (2022). Dobbs invited state legislators—not women themselves—to control

the decision whether to bear a child. Id. at 2243.

       The North Carolina General Assembly quickly accepted this invitation and

significantly curtailed women’s reproductive freedom in this State. Last month, in a

party-line vote, the legislature passed Senate Bill 20 over Governor Roy Cooper’s veto. 1

Republican legislators introduced the bill outside of the normal legislative procedures,

thereby avoiding the standard opportunities for public input, debate, and amendment. 2

       Not surprisingly, then, S.B. 20 is riddled with incoherence and uncertainty. Some

provisions impose contradictory obligations on doctors; others cross-reference laws that

are now repealed. The upshot is that doctors in North Carolina simply do not know what

they can and cannot do without risking criminal liability.



1
 N.C. Gen. Assembly, Senate Bill 20/SL 2023-14,
https://www.ncleg.gov/BillLookUp/2023/Senate%20Bill%2020/SL%202023-14 (last
visited June 24, 2023).
2
  Luciana Perez Uribe Guinassi & Dawn Baumgartner Vaughan, NC Legislature Passes
Abortion Bill. Governor Will Veto, but GOP Has Supermajority, News & Observer, May
4, 2023, https://www.newsobserver.com/news/politics-
government/article275051071.html (“GOP lawmakers had revealed their 46-page
abortion bill on Tuesday evening via a conference report, which allows the legislature to
avoid the typical procedural requirements of multiple hearings, debate and opportunities
for amendments from both parties.”).

                                             2



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       The Constitution does not permit such uncertainty. To satisfy due process, laws

must be clear enough “that ordinary people can understand what conduct is prohibited

and in a manner that does not encourage arbitrary and discriminatory enforcement.”

Kolender v. Lawson, 461 U.S. 352, 357 (1983).

       S.B. 20 cannot satisfy this standard—and the General Assembly has effectively

conceded as much. Last week, the legislature introduced a series of amendments

designed to revise many of the unconstitutional provisions identified in this lawsuit. Doc.

25-1 (H.B. 190). If those amendments are passed, they may remedy some of the

constitutional violations that Plaintiffs allege. But unless and until the current law is

repealed or significantly amended, immediate injunctive relief is necessary to avoid a

due-process violation.

       Moreover, even if the legislature’s proposed amendments do pass, at least one

constitutional problem with S.B. 20 will remain: even the currently proposed revisions to

S.B. 20 fail to make clear that doctors in North Carolina can help their patients obtain

abortions out of state. See Doc. 25-1 (H.B. 190, § 14.1.(b)) (proposing to amend § 90-

21.81A). This ambiguity raises concerns under both the Due Process Clause and the First

Amendment. For this reason, whether or not the General Assembly enacts its proposed

changes to S.B. 20, ongoing injunctive relief will be justified. 3



3
  Because all of the represented parties have stipulated that § 90-21.81B(3) does not take
effect until October 1, 2023, the Attorney General understands that Plaintiffs no longer
intend to address that provision at the hearing on June 28, 2023. This brief thus does not
address the constitutionality of § 90-21.81B(3). The Attorney General reserves the right
to address that provision at the appropriate time.

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                                STATEMENT OF FACTS

       The ability of a woman to have an abortion directly corresponds with “[t]he ability

. . . to participate equally in [this Nation’s] economic and social life.” Dobbs, 142 S. Ct.

at 2318 (Breyer, Sotomayor, and Kagan, JJ., dissenting) (quoting Planned Parenthood of

Se. Pa. v. Casey, 505 U.S. 833, 856 (1992)) (alterations in original). Retaining the

freedom to choose whether to bear a child allows women to retain control over the course

of their lives and their futures. See id. at 2317.

       Abortion is also one of the safest and most common medical procedures in the

United States. 4 Approximately one in four American women are estimated to have had

an abortion before the age of 45. Id. at 2343-44. 5 The rate of complications requiring

hospitalizations is generally estimated to be a fraction of 1 percent. 6 Indeed, the risk of




4
 Nat’l Acad. Sci., Engineering, & Med., The Safety and Quality of Abortion Care in the
United States 10 (2018); Rachel K. Rachel K. Jones & Megan L. Kavanaugh, Changes in
Abortion Rates Between 2000 and 2008 and Lifetime Incidence of Abortion, 117
Obstetrics & Gynecology 1358, 1365 (2011); see also Katherine Kortsmit, et al.,
Abortion Surveillance – United States, 2020, 71 Morbidity & Mortality Wkly. Rep. 10, 8
(Nov. 25, 2022), available at https://www.cdc.gov/mmwr/volumes/71/ss/pdfs/ss7110a1-
H.pdf ).
5
 Rachel K. Jones & Jenna Jerman, Population Group Aboriton Rates and Lifetime
Incidence of Abortion: United States, 2008-2014, 107 Am. J. Pub. Health 1904, 1904
(2017); see also Katherine Kortsmit, et al., Abortion Surveillance – United States, 2019,
70 Morbidity & Mortality Wkly. Rep. 9, 7 (Nov. 26, 2021), available at
https://www.cdc.gov/mmwr/volumes/70/ss/pdfs/ss7009a1-H.pdf.
6
 The Safety and Quality of Abortion Care in the United States, supra n.4 at 55, 60, 63,
and 67 (discussing rates of hospitalization for medication, aspiration, dilation and
evacuation, and induction abortion).

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death associated with childbirth is fourteen times higher than the risk of death associated

with abortion. 7

       The advent of medication abortion has only served to further increase the safety of

the procedure. More than 5.6 million women are estimated to have used medication

abortion to terminate a pregnancy in the United States. 8 The occurrence of “serious

adverse events”—including death, hospitalization, serious infection, or severe bleeding—

following the use of medication abortion is “exceedingly rare, generally far below 0.1%

for any individual adverse event.” 9 Even routine procedures like tonsillectomies have far

higher rates of complications. 10

       Notwithstanding the profound importance of reproductive freedom and the

incontrovertible evidence of abortion’s safety, the Supreme Court eliminated the

constitutional right to abortion one year ago, overturning nearly fifty years of precedent.


7
 Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced
Abortion and Childbirth in the United States, 119 Obstetrics & Gynecology 215, 216
(2012).
8
 U.S. Food & Drug Admin., Mifepristone U.S. Post-Marketing Adverse Events Summary
Through 6/30/2022, https://www.fda.gov/media/164331/download (last visited June 24,
2023).
9
 U.S. Food & Drug Admin., Ctr. for Drug Evaluation & Research, Medical Review
Application No. 020687Orig1s020 at 47 (Mar. 29, 2016),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf;
see also supra n.1.
10
  See Meena Seshamani, Emily Vogtmann, Justin Gatwood, Teresa B. Gibson, & Dennis
Scanlon, Prevalence of Complications from Adult Tonsillectomy and Impact on Health
Care Expenditures, 150(4) Otolaryngology–Head & Neck Surgery 574, 574 (2014),
doi:10.1177/0194599813519972 (finding that for adult patients who undergo a
tonsillectomy, 20% have a complication, 10% visit an emergency department, 1.5% are
admitted to the hospital, and 6% are treated for postoperative hemorrhage).

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Dobbs, 142 S. Ct. at 2279. In the wake of Dobbs, States began enacting new abortion

bans almost immediately. 11

          North Carolina was one such State. Before the fall of Roe, state law expressly

approved of abortions through twenty weeks, and a district-court injunction prohibited

officials from prosecuting individuals for providing or obtaining abortions through

twenty-four weeks. N.C. Gen. Stat. § 14-45.1 (repealed 2023); Bryant v. Woodall, No.

1:16CV1368, 2019 WL 13199938, at *1 (M.D.N.C. May 23, 2019), vacated, 622 F.

Supp. 3d 147 (M.D.N.C. 2022). But in the first long legislative session after Dobbs, the

Republican leadership of the North Carolina General Assembly unveiled a plan to

prohibit abortion after twelve weeks with a few narrow exceptions and to impose

burdensome regulations for abortions performed before twelve weeks. Senate Bill 20,

2023-24 Leg., 156th Sess. (May 2, 2023). 12

          The Republican super-majority in the General Assembly then proceeded to pass

the bill as quickly—and unilaterally—as possible. Republican leadership introduced the




11
     E.g., Ind. Code § 16-34-2-1 (2023); W. Va. Code § 16-2R-3 (2023).
12
   The average pregnancy is normally calculated from the first day of the last menstrual
period through 280 days. The average length of gestation (post-conception), however,
usually lasts only 266 days. Committee Opinion No. 700: Methods for Estimating the
Due Date, Obstetrics and Gynecology, 129(5), e150-e154 (2017)
https://journals.lww.com/greenjournal/Fulltext/2017/05000/Committee_Opinion_No_700
__Methods_for_Estimating.50.aspx. As a result, when a law like North Carolina’s
prohibits abortions after twelve weeks, it normally requires that a pregnant woman
confirm a pregnancy, decide to have an abortion, and go through with the procedure all
within ten weeks of conception.

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substance of the bill on May 2, 2023. 13 The House passed S.B. 20 the following day, on

May 3, and the Senate passed the bill on May 4. 14 This break-neck timing meant that the

public had virtually no notice of the bill’s contents and virtually no opportunity for input

or debate. Doc. 1, Compl. ¶ 2.

            The Governor vetoed S.B. 20 on May 14, 2023, 15 and Republicans in the General

Assembly voted to override the veto two days later, on May 16, 2023. 16

            Perhaps because of the rushed nature of the bill’s passage, S.B. 20 contains

numerous incoherencies, contradictions, and ambiguities. As just one example, in § 90-

21.81B(2), S.B. 20 expressly states that medication abortion is lawful through the twelfth

week of pregnancy. In section 90-21.83B(a)(6)-(7), however, S.B. 20 requires physicians

who prescribe medication abortions to confirm that the fetus is no more than 70 days (i.e.,

ten weeks).

            That contradiction, among many other problems, gave rise to this lawsuit.

Plaintiffs filed their Complaint on June 16, 2023, alleging that numerous provisions

within S.B. 20 run afoul of the Constitution. Doc. 1, Compl. ¶¶ 77-87.




13
   Senate Bill 20 / SL 2023-24, N.C. Gen. Assembly,
https://www.ncleg.gov/BillLookUp/2023/Senate%20Bill%2020 (last visited June 23,
2023).
14
     Id.
15
   Veto of S.B. 20 (2023) (letter from Gov. Cooper to the Clerk for the N.C. Senate, May
14, 2023) https://governor.nc.gov/news/press-releases/2023/05/16/governor-cooper-
statement-republican-vote-override-sb20-veto (last visited June 23, 2023).
16
  Senate Bill 20 / SL 2023–24, N.C. Gen. Assembly,
https://ncleg.gov/BillLookUp/2023/S20 (last visited June 23, 2023).

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       A few days after filing suit, on June 21, 2023, Plaintiffs moved for a temporary

restraining order or preliminary injunction. The next day, this Court ordered a response

from the defendants and set a hearing on Plaintiffs’ motion for June 28, 2023.

       Almost immediately after this Court issued its order, the North Carolina General

Assembly introduced a bill “to make technical and conforming changes to Session Law

2023-14” (i.e., S.B. 20). House Bill 190, 2023-24 Leg., 156th Sess. (June 22, 2023).

House Bill 190 appears to be a direct response to Plaintiffs’ lawsuit—the vast majority of

the proposed amendments directly correspond to the provisions that Plaintiffs have

challenged here. Compare Doc. 1, Compl. ¶ 3-8 with Doc. 25-1 (H.B. 190).

       The proposed amendments were voted on and passed the North Carolina Senate

the evening of June 26, 2023. It is the Attorney General’s expectation that the North

Carolina House of Representatives will consider whether to concur with these

amendments this week. If the House concurs and the proposed amendments pass, the

Governor will have ten days to sign or veto the bill. It is possible, however, that many

portions of S.B. 20 will go into effect on July 1, before the legislature enacts the

amendments into law.

                                       ARGUMENT

       S.B 20 contains numerous provisions that make it impossible for doctors to know

whether their conduct is lawful or instead may subject them to prosecution. The Due

Process Clause forbids this kind of scenario. See United States v. Cardiff, 344 U.S. 174

(1952); Carolina Youth Action Project v. Wilson, 60 F.4th 770, 781 (4th Cir. 2023).



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       The General Assembly seems to have recognized S.B. 20’s constitutional

vulnerability and has proposed amendments that, if enacted, would address some of the

problems that Plaintiffs have identified. In the meantime, however, the unconstitutional

provisions in S.B. 20 must be enjoined in a manner that eliminates the law’s ambiguities

and prevents arbitrary enforcement.

       Moreover, even assuming the proposed amendments do become law, at least one

statutory provision will still require a narrowing construction: The proposed amendments

fail to eliminate the prospect that individuals could be criminally charged for helping a

patient secure a lawful abortion outside this State. Section 90-21.81B must be construed

to avoid that result.

       In short, because (1) Plaintiffs are likely to prevail on the merits of their due-

process challenges and (2) every equitable factor favors an injunction to clarify the law,

this Court should grant Plaintiffs’ motion, as detailed further below. See Winter v.

Natural Res. Defense Council, Inc., 555 U.S. 7, 20 (2008).

I.     Plaintiffs Are Likely To Prevail on the Merits of Their Due-Process Claims.

       Because the provisions that Plaintiffs challenge fail to provide doctors with fair

notice regarding what conduct can give rise to liability, Plaintiffs are likely to succeed in

enjoining enforcement of those provisions on due-process grounds.

           A. The Due Process Clause Demands Fair Notice and Clarity.

       The Fourteenth Amendment prohibits States from depriving “any person of life,

liberty, or property without due process of law.” U.S. Const., amend. XVI, § 1. A State

violates due process when it deprives someone of life, liberty, or property under an overly

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vague statute. Carolina Youth Action Project v. Wilson, 60 F.4th 770, 781 (4th Cir.

2023). Vagueness is least tolerated in statutes that threaten the most serious deprivations,

like those imposing criminal penalties or inhibiting constitutional rights. Manning v.

Caldwell ex rel. City of Roanoke, 930 F.3d 264, 272-73 (4th Cir. 2019) (en banc). In

those cases, a vague statute “can be invalidated on its face even where it could

conceivably have some valid application.” See Martin v. Lloyd, 700 F.3d 132, 135 (4th

Cir. 2012).

       To determine whether a statute is unconstitutionally vague, courts will ask whether

the law “provide[s] a person of ordinary intelligence fair notice of what is prohibited.”

Doe v. Cooper, 842 F.3d 833, 842 (4th Cir. 2016). The fair-notice requirement is

intended to “enable citizens to conform their conduct to the proscriptions of the law” and

invalidate statutes that are little more than a “trap for those who act in good faith.”

United States v. Ragen, 314 U.S. 513, 524 (1942); Manning, 930 F.3d at 274. Thus,

statutes that are confusing, ambiguous, or contradictory are impermissibly vague and

must be enjoined. Raley v. Ohio, 360 U.S. 423, 438 (1959) (quoting United States v.

Cardiff, 344 U.S. 174, 176 (1952)); Manning, 930 F.3d at 274.

       United States v. Cardiff is illustrative. There, the Supreme Court held that

§ 301(f) of the Federal Food, Drug, and Cosmetic Act was void because it was in inherent

tension with a different provision of the statute. 344 U.S. at 176. Section 301(f)

prohibited owners of certain facilities from refusing “entry or inspection [by federal

officials] as authorized by section 704.” Id. at 174. But § 704 allowed federal officials to

enter or inspect a facility only “after first making request and obtaining permission of the

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[facility’s] owner.” Id. at 174-75. In other words, § 704 seemed to suggest that owners

could deny officials permission to inspect their facilities, whereas § 301(f) seemed to

indicate that they could not. The Court attempted to reconcile the two provisions but

found that any reading that gave effect to both posed tricky questions to ordinary citizens

attempting to comply with the law. Id. at 176. The Court therefore held that § 301(f)

violated the Due Process Clause and, thus, that owners could not be prosecuted for

refusing entry to federal inspectors. Id.

           B. The Lawful-Abortion Exception to the Fetal-Homicide Statute Violates
              Due Process.

        North Carolina law makes it a crime to “unlawfully cause[ ] the death of an

unborn child.” N.C. Gen. Stat. § 14-23.2(a). The law carves out an exception for acts

“which cause the death of an unborn child if those acts were lawful, pursuant to the

provisions of G.S. 14-45.1.” Id. § 14-23.7(1) (emphasis added).

        When S.B. 20 takes effect, it will repeal § 14-45.1, the provision that currently

governs lawful abortions. Session Law 2023-24, § 1.1. This change would not be a

problem if S.B. 20 simultaneously replaced § 14-23.7’s reference to § 14-45.1 with a

citation to the new statutory provision in S.B. 20 addressing lawful abortions. But it does

not.

        This puts doctors who wish to continue providing abortions during the first twelve

weeks of pregnancy in a quandary. On the one hand, S.B. 20 indicates that abortions are

lawful up to twelve weeks. See Session Law 2023-14, § 1.2 (N.C. Gen. Stat. § 90-

21.81A(a)). But on the other, as of July 1, when S.B. 20 takes effect, the fetal-homicide


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laws will no longer contain any express carve-out for lawful abortions. Therefore, as the

law currently stands, doctors who perform abortions after July 1 cannot be certain

whether they are risking criminal liability for fetal homicide, no matter when the

abortions are performed.

       This uncertainty under the law violates due process, as the recent amendments

proposed by the General Assembly seem to acknowledge. Doc. 25-1 (H.B. 190,

§ 14.1(a)) (proposing to amend § 14-23.7 to expressly exempt lawful abortions under

Article 1I of Chapter 90 from criminal prosecutions). In H.B. 190, the legislature

attempts to correct the soon-to-be-obsolete citation in the fetal-homicide statutes and

make clear that providing lawful abortions continues to be innocent conduct. Id.

       Unless and until the fetal-homicide laws are officially revised in this way, though,

equitable relief is necessary. This Court should enter an injunction barring enforcement

of the fetal-homicide laws against doctors who provide lawful abortions.

          C. The Gestational-Age Verification Requirement Violates Due Process.

       A similar contradiction necessitates enjoining S.B. 20’s gestational-age

verification requirement. S.B. 20 provides that “it shall not be unlawful to advise,

procure, or cause” a “medical abortion” “during the first 12 weeks of a woman’s

pregnancy.” N.C. Gen. Stat. § 90-21.81B(2); see also id. § 90-21.81(A)(a) (general

provision regarding the legality of abortion during the first twelve weeks of pregnancy).

But in another subsection, the statute requires a doctor “prescribing, administering, or

dispensing an abortion-inducing drug” to first “[v]erify that the probable gestational age

of the unborn child is no more than 70 days,” or 10 weeks. Id. § 90-21.83B(a)(6).

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       As with the fetal-homicide statutes, it is unclear how doctors are to interpret these

contradictory provisions. One provision—§ 90-21.83B(a)(6)—seems to imply that

doctors cannot perform medication abortions beyond ten weeks, else how are they to

verify that the “probable gestational age of the unborn child is no more than 70 days”?

Yet at the same time, a different provision—§ 90-21.81B(2)—expressly states that

“medical abortion[s]” are lawful up to twelve weeks’ gestation.

       Because these laws do not provide doctors “adequate notice of what conduct is

prohibited,” they run afoul of the Due Process Clause. Manning, 930 F.3d at 272. Again,

the legislature seems to realize as much. In H.B. 190, the legislature proposes amending

the gestational-age verification provision to require only that the doctor “[v]erify the

probable gestational age of the unborn child,” without requiring that the age be no more

than 70 days. Doc. 25-1 (H.B. 190, § 14.1.(f)). If enacted, this change would allow

doctors to prescribe medication abortion through the twelfth week of pregnancy,

consistent with other provisions in S.B. 20.

       For now, however, this Court must enjoin enforcement of the gestational-age

verification requirement under the currently enacted law. Any other outcome would

violate the Due Process Clause.

          D. The “Advising” Ban Violates Due Process.

       Plaintiffs further allege that S.B. 20 violates due process because it fails to make

clear whether doctors can legally advise or assist patients in obtaining lawful abortions

outside of North Carolina after the twelfth week of pregnancy. Doc. 1, Compl. ¶ 78.

Here, too, Plaintiffs are likely correct on the merits of their claim. This Court should

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therefore enter an injunction that clarifies that S.B. 20 cannot be construed to reach

abortions that occur outside the State.

       S.B. 20 makes it “unlawful after the twelfth week of a woman’s pregnancy to

advise, procure, or cause a miscarriage or abortion.” N.C. Gen. Stat. § 90-21.81A(a).

Section 90-21.81B carves out several exceptions to this criminal prohibition. But none of

those exceptions makes clear whether doctors can tell their patients how to procure

lawful abortions out of state. As a theoretical matter, a doctor who tells a patient how to

procure a lawful abortion out of state has arguably “advise[d]” or “cause[d]” an abortion,

in violation of § 90-21.81A, assuming the patient chooses to go forward with the

procedure.

       This ambiguity offends due process. See Manning, 930 F.3d at 274. To pass

constitutional muster, laws—particularly those, like § 90-21.81A, that involve criminal

penalties and implicate constitutionally protected conduct—must define the relevant

“criminal offense with sufficient definiteness that ordinary people can understand what

conduct is prohibited.” Kolender, 461 U.S. at 357. Section 90-21.81A does not satisfy

this standard, at least as applied to lawful out-of-state abortions.

       With respect to this provision, moreover, the amendments that the General

Assembly proposes in H.B. 190 likely would not fully resolve the constitutional problem.

Those amendments propose revising the language as follows: “It shall be unlawful after

the twelfth week of a woman’s pregnancy to advise, procure, or cause procure or cause a

miscarriage or abortion.abortion in the State of North Carolina.” Doc. 25-1 (H.B. 190,

§ 14.1.(b)); see also id. § 14.1.(c) (revising the analogous language in § 90-21.81B).

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       Notwithstanding these proposed changes, two issues remain: First, advising a

patient how to procure a lawful abortion outside of North Carolina could be viewed as

“caus[ing]” an abortion, even if the word “advise” is removed from the statute. Second,

the new geographic limitation (“in the State of North Carolina”) is ambiguous. The

amendment is likely intended to narrow the scope of the provision to include only

abortions that take place “in the State of North Carolina.” Doctors could thus advise

patients how to obtain an abortion outside the State without subjecting themselves to

criminal liability. But the proposed amendment could alternatively be read to prohibit

taking action “in the State of North Carolina” that “cause[s]” an abortion anywhere,

including outside the State. As a result, the line between lawful and unlawful conduct

remains blurry.

       This lack of clarity also gives rise to grave First Amendment concerns. If S.B. 20

is read to prohibit a doctor from advising her patient about procuring lawful abortions

out-of-state after the twelfth week of pregnancy, that would likely violate the First

Amendment. As the Supreme Court has emphasized, the First Amendment has special

force in protecting free discourse “in the fields of medicine and public health, where

information can save lives.” Sorrell v. IMS Health Inc., 564 U.S. 552, 566 (2011). As a

result, where a State purports to limit the lawful advice a healthcare professional can give

her patient, courts have consistently struck those restrictions down as unconstitutional

restraints on speech. See, e.g., Wollschlaeger v. Governor of Fla., 848 F.3d 1293, 1310

(11th Cir. 2017) (en banc) (striking down a Florida law that prohibited doctors from

asking patients about the presence of firearms as part of childproofing the home); Conant

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v. Walters, 309 F.3d 629 (9th Cir. 2002) (striking down a federal policy that threatened

doctors with revocation of their DEA prescription authority if they recommended the

medicinal use of marijuana to their patients).

       Moreover, because the amended statute contains an ambiguous geographic limit, it

is unclear what specific forms of speech may be restricted. That is, it is unclear whether

it is unlawful to cause an abortion that occurs in North Carolina after twelve weeks, or

whether it is unlawful to take actions in North Carolina that may cause an abortion after

twelve weeks in another State. That ambiguity has a potentially chilling effect on speech.

       Consequently, even as amended, S.B. 20 remains unconstitutionally vague in at

least two critical respects. And these ambiguities give rise to serious First Amendment

concerns. To cure these constitutional defects, S.B. 20 must be read not to prohibit

individuals from assisting women with obtaining lawful, out-of-state abortions after the

twelfth week of pregnancy.

          E. The Failure To Clearly Establish a Medical-Emergency Exception to
             the 72-Hour Waiting Period Violates Due Process.

       S.B. 20’s 72-hour waiting period also gives rise to a due-process violation.

Generally speaking, the new law requires patients to be provided with a range of

information at least 72 hours prior to an abortion, including the name of the physician

who will perform the abortion, whether that physician has malpractice insurance, and the

location of the hospital where the physician has admitting privileges. N.C. Gen. Stat.

§§ 90-21.82, -21.83A. Most of the provisions that refer to the waiting period make clear

that doctors need not wait 72 hours to perform an abortion in the event of a medical


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emergency. See N.C. Gen. Stat. §§ 90-21.82(b), -21.83A(b), -21.86. One provision,

however, fails to include the same express emergency carve-out: Section 90-21.83C

requires doctors to provide certain information, including details about insurance

coverage, “[a]t least 72 hours prior to any medical or surgical abortion.” And § 90-

21.83C is silent as to any exception for medical emergencies.

       This silence denies doctors adequate notice as to whether they can legally perform

an abortion in a medical emergency if they lack the time to wait 72 hours after providing

the information in § 90-21.83C. Though some provisions in S.B. 20 provide some

comfort that doctors will be safe from criminal liability, § 90-21.83C provides no such

reassurance. To avoid a due-process problem, then, this Court should enjoin enforcement

of § 90-21.83C in the event of a medical emergency.

       In H.B. 190, the legislature suggests repealing § 90-21.83C altogether. Doc. 25-1

(H.B. 190, § 14.1.(g)). Until a remedial amendment like that one becomes law, however,

equitable relief is clearly necessary to prevent a constitutional violation.

          F. The Other Challenged Provisions Likely Violate Due Process.

       Plaintiffs allege several other provisions within S.B. 20 that, in their view, are not

sufficiently clear to satisfy due process. These provisions include:

          • The requirement that physicians “[d]ocument in the woman’s medical chart
            the . . . intrauterine location of the pregnancy” before a medication
            abortion. N.C. Gen. Stat. § 90-21.83B(a)(7).

          • The requirement that doctors tell patients 72 hours before an abortion
            whether insurance will cover the procedure. Id. § 90-21.83C.




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           • The requirement that doctors tell patients 72 hours before an abortion the
             full name of the doctor who will be performing their abortion and
             information about that doctor’s admitting privileges. Id.

           • The requirement that physicians submit a report within three days of a
             minor’s abortion that confirms whether the minor returned for a follow-up
             visit seven to fourteen days after the abortion. Id. §§ 90-21.93(a), -
             21.83A(b)(4)(l).

The Attorney General does not claim to have the specialized knowledge to evaluate

Plaintiffs’ factual allegations on these points. To the extent that Plaintiffs are correct that

these provisions are in inherent conflict with other provisions in S.B. 20, they, too, would

seem to violate due process.

 II.      The Remaining Winter Factors Favor Entering an Injunction that Remedies
          the Constitutional Violations.

        Not only are Plaintiffs likely to prevail on the merits of their claims, each of the

remaining Winter factors supports their desired relief. See Winter, 555 U.S. at 20. The

balance of the equities and the public interest underscore the need for an injunction. And

Plaintiffs are likely to suffer irreparable harm unless this Court acts.

        First, the balance of the equities and public interest support enjoining or

construing these ambiguous and contradictory provisions to bring them into constitutional

compliance. Until last year, millions of women in North Carolina relied on having access

to healthcare—and, specifically, abortion care—through the 24th week of pregnancy. No

woman of childbearing age in North Carolina has ever before lived in a reality without

this fundamental right. In 48 hours, and without the opportunity for public awareness or

debate, the General Assembly stripped these millions of women of this right, forcing

them to access necessary healthcare in half the time afforded before. In addition, the

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legislature added onerous and unnecessary restrictions that make it harder for doctors to

offer reproductive services and for patients—particularly those who are economically

vulnerable—to access them.

       This sea change would have wrought confusion even if the implementing

legislation were a model of clarity. But S.B. 20 is the opposite, replete with

inconsistencies and ambiguities, and with women and doctors in this State bearing the

costs. Particularly in these circumstances, the public interest is served by preserving the

status quo, at least until women and doctors have the clarity they need to continue

accessing and providing reproductive healthcare. See, e.g., Mayor of Baltimore v. Azar,

392 F. Supp. 3d 602, 619 (D. Md. 2019); FemHealth USA, Inc. v. City of Mount Juliet,

458 F. Supp. 3d 777 (M.D. Tenn. 2020). Moreover, resolving the ambiguities in S.B. 20

will provide clarity to the executive-branch defendants who are charged with enforcing

these criminal provisions.

       Meanwhile, enjoining these provisions does not prejudice the Legislative

Intervenors in any way. “[A] state is in no way harmed by issuance of a preliminary

injunction which prevents the state from enforcing restrictions likely to be found

unconstitutional. If anything, the system is improved by such an injunction.” Centro

Tepeyac v. Montgomery County, 722 F.3d 184, 191 (4th Cir. 2013) (en banc) (quoting

Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)). Particularly

where, as here, the Legislative Intervenors have proposed amendments that largely mirror

the injunctive relief that Plaintiffs seek, they can hardly argue that injunctive relief would

cause them any meaningful harm.

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       Plaintiffs, by contrast, will suffer irreparable harm absent an injunction. See

Winter, 555 U.S. at 22. Start with the advising ban, which H.B. 190 does not adequately

address. That ban threatens to chill—or, worse, silence—the speech of healthcare

providers who wish to help their patients secure lawful abortions outside this State. “The

loss of First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976).

       Enforcing the other challenged provisions threatens irreparable harm as well. As

explained above, those provisions condition criminal prosecution on confusing and

conflicting statutory commands, in violation of the Due Process Clause. Infringing

constitutional rights generally constitutes irreparable harm. See Ross v. Meese, 818 F.2d

1132, 1135 (4th Cir. 1987). That is particularly true where an unconstitutional statute

threatens criminal prosecution. See Pierce v. Soc’y of Sisters, 268 U.S. 510, 536 (1925).

And here, the consequences of that threat are particularly stark: Absent an injunction,

doctors must choose between either (a) declining to provide reproductive healthcare to

avoid prosecution or (b) rolling the dice and risking criminal liability. Either option

threatens irreparable harm.

                                      *      *       *

       As explained above, Plaintiffs are likely to prevail on the merits of their challenge.

See supra Part I. Because Plaintiffs are further likely to suffer immediate and irreparable

harm absent an injunction, and because the balance of the equities and the public interest

favor an injunction, this Court should enter an injunction as follows:



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          • An injunction barring enforcement of the fetal-homicide statutes against
            doctors who provide lawful abortions. See N.C. Gen. Stat. §§ 14-23.2, -
            23.7.

          • An injunction that bars enforcement of the gestational-age verification
            requirement. See N.C. Gen. Stat. § 90-21.83B(a)(6).

          • An injunction barring enforcement of the 72-hour waiting-period provisions
            in the case of a medical emergency. See N.C. Gen. Stat. §§ 90-21.82-
            21.83A.

          • An injunction barring enforcement of N.C. Gen. Stat. § 90-21.81A(a)
            against anyone who explains how to secure or assists with securing a lawful
            abortion outside of North Carolina.

Further, the Court should enter an injunction relating to any other provision of S.B. 20 as

the Court deems appropriate.

                                     CONCLUSION

       The provisions that Plaintiffs have challenged violate the Due Process Clause

because they fail to provide doctors with fair notice as to how to “conform their conduct

to the proscriptions of the law.” Manning, 930 F.3d at 274. The Court should therefore

enjoin the challenged provisions in the manner described above. Should new legislation

that materially changes S.B. 20 be enacted into law, the Court can revisit the matter, with

supplemental briefing and argument from the parties as the Court deems necessary.


Dated: June 27, 2023.                         Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing brief complies with Local Rule 7.3(d) because,

excluding the parts of the brief exempted by Rule 7.3(d) (cover page, caption, signature

lines, and certificates of counsel), this brief contains fewer than 6,250 words. This brief

also complies with Local Rule 7.1(a).


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